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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

SHERIFF BRAD COE, et al.,           )
                                    )
      Plaintiffs,                   )
                                    )       Civil Action No.
      v.                            )       3:21-CV-00168
                                    )
JOSEPH R. BIDEN, JR., et al.,       )
                                    )
      Defendants.                   )
________________________________________________________________________

           PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs hereby notify the Court of supplemental authority regarding the pending

Plaintiffs’ Motion to Reconsider (Doc. 75) and Defendants’ Motion to Dismiss (Doc. 62).

On June 10, 2022, the Victoria Division of the United States District Court for the

Southern District of Texas rendered a final decision in a case that overlaps with respect to

some, but not all, of the issues in this case. See Texas v. United States, No. 6:21-CV-

00016, 2022 U.S. Dist. LEXIS 104521, at *85 (S.D. Tex. June 10, 2022), attached. The

decision of the Victoria Division is controlling with respect to the overlapping issues in

the instant matter.

       In Texas v. United States, the plaintiff states challenged the legality of the same

Department of Homeland Security September 30, 2021, Memorandum at issue in this

case. The plaintiff states brought essentially the same statutory claims that the

Memorandum violates (1) the mandatory detention requirement of 8 U.S.C. § 1226(c)

and (2) the mandatory detention requirements of 8 U.S.C. § 1231. However, they did not


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bring the 8 U.S.C. § 1231 mandatory removal claim or the 8 U.S.C. § 1225 mandatory

detention and removal claims that are presented in this case. The Victoria Division held:

“The Final Memorandum flatly contradicts the detention mandates under Sections

1226(c) and 1231(a)(2). It replaces those statutes by conferring discretion to

independently decide who will be detained and when—if ever. And it clearly provides

that a conviction alone cannot be the basis for placing an alien in removal proceedings.

This plainly contradicts the language of the statutes….” Texas v. United States, Civil

Action No. 6:21-CV-00016, 2022 U.S. Dist. LEXIS 104521, at *85 (S.D. Tex. June 10,

2022). This holding addresses the core question regarding those two statutory sections

that is presented in this case. The remaining section at issue in this case (8 U.S.C. §

1225) contains similar mandatory language.

       The Vitoria Division vacated the Memorandum “as arbitrary and capricious,

contrary to law, and failing to observe procedure under the Administrative Procedure

Act.” Id. at *118. The Victoria Division did not address the forms of injunctive relief

requested in the instant case that were not requested in that case.




Dated: June 21, 2022          By: s/ Kris W. Kobach
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                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was filed electronically and served on
Defendants via the Court’s CM/ECF system on this 21st day of June, 2022.

                                            /s Kris W. Kobach
                                            KRIS W. KOBACH




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